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                          Exhibit 001
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                                                                         Plaintiffs' Exhibit 1: Exhibit List
                                                                     Sealed Treatment   Partial Redaction or Full   Grounds for Requesting Sealed
Exhibit Number                          Citation                                                                                                          Grounds for Admission                   Source
                                                                        Requested            Seal Requested            Treatment/Redactions

      1          Exhibit List                                                                                                                        Not Offered for Admission                 Demonstrative

                 Expert Report & Declaration of Dr. Daveed                                                                                           FRE 401; 402; 403; 611; 702; 703;
      2                                                                                                                                                                                        Expert Report
                 Gartenstein-Ross on Sunni Militant Organizations                                                                                    704; 901

                 Expert Witness Report of Dr. Daveed Gartenstein-                                                    Document Analyzing Sensitive    FRE 401; 402; 403; 611; 702; 703;
      3                                                                    Yes              Partial Redaction                                                                                  Expert Report
                 Ross on Attack Attributions                                                                                Documents                704; 901
                                                                                                                                                     FRE 401; 402; 403; 611; 702; 703;
      4          Expert Report of Michael Pregent                                                                                                                                              Expert Report
                                                                                                                                                     704; 901
                 Expert Damages Report of Chad Staller and Stephen                                                   Document Analyzing Sensitive    FRE 401; 402; 403; 611; 702; 703;
      5                                                                    Yes              Partial Redaction                                                                                  Expert Report
                 M. Dripps for Sgt. Adam Kisielewski (ret.)                                                                 Documents                704; 901
      6          Bellwether Attack Table                                                                                                             FRE 401; 402; 403; 611; 1006              Deomstrative

      7          Bellwether Plaintiffs Table                                                                                                         FRE 401; 402; 403; 611; 1006              Demonstrative

      8          Bellwether Damages Table                                                                                                            FRE 401; 402; 403; 611; 702; 1006         Demonstrative

      9          Felicia Bell Carter ID, Birth Cert.                       Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      10         Declaration of Felicia Bell Carter                        Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      11         Michael Bell ID, Birth Cert.                              Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      12         Declaration of Michael Bell                               Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      13         Lisa Kaufman U.S. Passport                                Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      14         Declaration of Lisa Kaufman                               Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      15         Alexandria Parks ID, Birth Cert.                          Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      16         Declaration of Alexandria Parks                           Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      17         Jonathan Krause ID, Birth Cert.                           Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      18         Declaration of Jonathan Krause                            Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      19         Gerald Krause ID, Birth Cert.                             Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      20         Declaration of Gerald Krause                              Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      21         Milissa Wojtowicz ID, Birth Cert.                         Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      22         Declaration of Milissa Wojtowicz                          Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
      23         Virginia Maitland ID, Birth Cert.                         Yes                  Full Seal               PII/Victim's Document        FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                                                     FRE 401; 402; 403; 601-603; 611;
      24         Declaration of Virginia Maitland                          Yes                  Full Seal               PII/Victim's Document                                               Plaintiff Declaration
                                                                                                                                                     807
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25   Cheryl Felder Stuart ID, Birth Cert.       Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
26   Declaration of Cheryl Felder Stuart        Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
27   Manaser Orton ID, Birth Cert.              Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
28   Declaration of Manaser Orton               Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
29   Tara Roberts ID, Birth Cert.               Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
30   Declaration of Tara Roberts                Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
31   Alan Bean Sr. ID, Birth Cert.              Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
32   Declaration of Alan Bean Sr.               Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
33   Rita Blodgett ID, Birth Cert.              Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
34   Declaration of Rita Blodgett               Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
35   Jacob Kosky ID, Birth Cert.                Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
36   Declaration of Jacob Kosky                 Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
37   Nancy Poulin ID, Birth Cert.               Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
38   Declaration of Nancy Poulin                Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
39   Christina Linden U.S. Passport             Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
40   Declaration of Christina Linden            Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
41   Jason Rockholt U.S. Passport               Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
42   Declaration of Jason Rockholt              Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
43   Adam Kisielewski ID, Birth Cert.           Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document

                                                                                                  FRE 401; 402; 403; 601-603; 611;
44   Declaration of Adam Kisielewski            Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807

45   Noe Orosco ID, Birth Cert.                 Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
46   Declaration of Noe Orosco                  Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
47   Rita Zoucha ID, Birth Cert.                Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
48   Declaration of Rita Zoucha                 Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
49   Marla Van Cannon ID, Birth Cert.           Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
50   Declaration of Marla Van Cannon            Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
51   Michael Van Cannon U.S. Passport           Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                  FRE 401; 402; 403; 601-603; 611;
52   Declaration of Michael Van Cannon          Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                  807
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53   Brandon Clevenger ID, Birth Cert.             Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
54   Declaration of Brandon Clevenger              Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
55   Roger Kurtz U.S. Passport                     Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
56   Declaration of Roger Kurtz                    Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
57   Stephanie Kurtz U.S. Passport                 Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
58   Declaration of Stephanie Kurtz                Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
59   Richard Gervasi II ID, Birth Cert.            Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
60   Declaration of Richard Gervasi II             Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
61   Norma Estes ID, Birth Cert.                   Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
62   Declaration of Norma Estes                    Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
63   Patricia Grassbaugh U.S. Passport             Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
64   Declaration of Patricia Grassbaugh            Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
65   Michael Summers ID, Birth Cert.               Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
66   Declaration of Michael Summers                Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
67   Nanette West U.S. Passport                    Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
68   Declaration of Nanette West                   Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
69   Clark West U.S. Passport                      Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
70   Declaration of Clark West                     Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
71   Ashley LeGrand Rawlings ID, Birth Cert.       Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
72   Declaration of Ashley LeGrand Rawlings        Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
73   K.L., a minor Birth Cert.                     Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
74   Declaration of K.L., a minor                  Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
75   Patty Jett Birth Cert., ID                    Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
76   Declaration of Patty Jett                     Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
77   Shelia Towns ID, Birth Cert.                  Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
78   Declaration of Shelia Towns                   Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
79   Martha Cabe Birth Cert. & Marriage Cert.      Yes         Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902             Plaintiff Identity Document
                                                                                                     FRE 401; 402; 403; 601-603; 611;
80   Declaration of Martha Cabe                    Yes         Full Seal    PII/Victim's Document                                          Plaintiff Declaration
                                                                                                     807
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81    Sarah Lambert U.S. Passport                                Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
82    Declaration of Sarah Lambert                               Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
83    Duane Pionk ID, Birth Cert.                                Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
84    Declaration of Duane Pionk                                 Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
85    Kelly Inman ID, Birth Cert.                                Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
86    Declaration of Kelly Inman                                 Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
87    Natalie Jackson ID, Birth Cert.                            Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
88    Declaration of Natalie Jackson                             Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
89    Andrew Marshall U.S. Passport                              Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
90    Declaration of Andrew Marshall                             Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
91    Sheila Marshall U.S. Passport                              Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
92    Declaration of Sheila Marshall                             Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
93    Brandi Yanez U.S. Passport                                 Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
94    Declaration of Brandi Yanez                                Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
95    Joseph Pautsch ID, Birth Cert.                             Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
96    Declaration of Josef Pautsch                               Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807
97    Becky Johnson ID, Birth Cert.                              Yes       Full Seal    PII/Victim's Document    FRE 401; 402; 403; 902              Plaintiff Identity Document
                                                                                                                 FRE 401; 402; 403; 601-603; 611;
98    Declaration of Becky Johnson                               Yes       Full Seal    PII/Victim's Document                                           Plaintiff Declaration
                                                                                                                 807

      State Sponsors of Terrorism, U.S. Dep’t of State,
                                                                                                                 FRE 401; 402; 403; 803(8); 807;
99    available at https://www.state.gov/state-sponsors-of-                                                                                              Public Document
                                                                                                                 901; 902; 902(5)
      terrorism/ (last visited November 18, 2023)

      Foreign Sovereign Immunities Act - How do I effect
      service of a default judgment or other documents?,
      U.S. Dep't of State,
                                                                                                                 FRE 401; 402; 403; 803(8); 807;
100   https://travel.state.gov/content/travel/en/legal/travel-                                                                                           Public Document
                                                                                                                 901; 902; 902(5)
      legal-considerations/internl-judicial-asst/Service-of-
      Process/Foreign-Sovereign-Immunities-Act.html (last
      visited November 18, 2023)
      U.S. Federal Reserve, Monthly Interest Rates,
      available at                                                                                               FRE 401; 402; 403; 803(8); 807;
101                                                                                                                                                      Public Document
      https://www.federalreserve.gov/datadownload/Choose                                                         901; 902; 902(5)
      .aspx?rel=H15

      U.S. Marine Corps, USCENTCOM FOIA 22-0289,                                                                 FRE 401; 402; 403; 611; 703;
102   “Casualty Report – Adam Kisielewski,” (August 21,                                                          803(6); 803(8); 807; 901; 901(7);             FOIA
      2005)                                                                                                      902; 902(5); 902(11)
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                                                                                                            FRE 401; 402; 403; 611; 703;
      U.S. Marine Corps Headquarters, “Purple Heart
103                                                         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Award, Adam Kisielewski,” (August 26, 2005)
                                                                                                            902; 902(11)

      U.S. Department of Defense, “Certificate of Release                                                   FRE 401; 402; 403; 611; 703;
104   or Discharge from Active Duty: Kisielewski, Adam      Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Christopher,” (October 3, 2006)                                                                       902; 902(11)

      U.S. Marine Corps, USMARCENT FOIA DON-                                                                FRE 401; 402; 403; 611; 703;
105   USMC-2022-002646, “Report of Casualty – Brent                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      Zoucha” (June 12, 2006)                                                                               902; 902(5); 902(11)
      U.S. Marine Corps, USMARCENT FOIA DON-                                                                FRE 401; 402; 403; 611; 703;
106   USMC-2022-002646, “Enemy Situation and                                                                803(6); 803(8); 807; 901; 901(7);        FOIA
      Assessment,” (June 6, 2006)                                                                           902; 902(5); 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      U.S. Marine Corps, “Purple Heart Award – Brent
107                                                         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Zoucha,” (June 13, 2006)
                                                                                                            902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                          FRE 401; 402; 403; 611; 703;
108   “Autopsy Examination Report – Brent B. Zoucha,”       Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (June 14, 2006)                                                                                       902; 902(11)
      Lt. Col. Marano, “Letter from Commanding Officer:                                                     FRE 401; 402; 403; 611; 703;
109   LT COL Marano,” First Battalion 7th Marines           Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Newsletter, (June 2006)                                                                               902; 902(11)
      CENTCOM, USCENTCOM 22-0341, Ops Report,                                                               FRE 401; 402; 403; 611; 703;
110   “IED Attack on 1/7 NE of Husaybah: 3 CF KIA, 1 CF                                                     803(6); 803(8); 807; 901; 901(7);        FOIA
      WIA,” (June 9, 2006)                                                                                  902; 902(5); 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty – Ross
111                                                         Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Clevenger,” (March 26, 2007)
                                                                                                            902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                          FRE 401; 402; 403; 611; 703;
112   “Autopsy Report – Ross Clevenger,” (March 23,         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2007)                                                                                                 902; 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      Letter from Department of the Army to Abby
113                                                         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Bradshaw, (Feb. 12, 2007)
                                                                                                            902; 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                          FRE 401; 402; 403; 611; 703;
114   0067, “Report of Proceedings by Investigating                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      Officer/Board of Officers,” (Feb. 9, 2007)                                                            902; 902(5); 902(11)

      CENTCOM, USCENTCOM FOIA 22-0090, Ops                                                                  FRE 401; 402; 403; 611; 703;
115   Report “IED EXPLOSION(IED) ATTK ON 3/A/321:                                                           803(6); 803(8); 807; 901; 901(7);        FOIA
      1 CF WIA 3 CF KIA,” (Feb. 8, 2007)                                                                    902; 902(5); 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                            FRE 401; 402; 403; 611; 703;
116   0146, "Supplemental Report of Casualty – Russell                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      Kurtz," (February 11, 2007)                                                                           902; 902(11)

      Department of the Army, “Informal AR 15-6                                                             FRE 401; 402; 403; 611; 703;
117   Investigation Findings in the Death of SGT Kurtz,                                                     803(6); 803(8); 807; 901; 901(7);        FOIA
      Russell Andrew B Co 3-509 IN,” (March 13, 2007)                                                       902; 902(5); 902(11)

                                                                                                            FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death –
118                                                         Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Russell Kurtz,” (February 27, 2007)
                                                                                                            902; 902(11)
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                                                                                                           FRE 401; 402; 403; 611; 703;
      Department of the Army, “Casualty Report – Russell
119                                                        Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Kurtz,” (February 11, 2007)
                                                                                                           902; 902(11)
      CENTCOM, USCENTCOM FOIA 22-0246, “Report                                                             FRE 401; 402; 403; 611; 703;
120   of Casualty – Kelly Youngblood,” (February 18,                                                       803(6); 803(8); 807; 901; 901(7);        FOIA
      2007)                                                                                                902; 902(5); 902(11)
      CENTCOM, USCENTCOM FOIA 22-0246, Ops
                                                                                                           FRE 401; 402; 403; 611; 703;
      Report, “DIRECT FIRE (Small Arms) ON B/3-69
121                                                                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      (TF 3-69) IVO AR RAMADI (ROUTE): 1 CF KIA 2
                                                                                                           902; 902(5); 902(11)
      AIF KIA,” (February 19, 2007)
      Department of the Army, USARCENT FOIA FA-22-
                                                                                                           FRE 401; 402; 403; 611; 703;
      0067, “15-6 Investigation into the circumstances
122                                                                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      surrounding the death of PV2 Youngblood,”
                                                                                                           902; 902(5); 902(11)
      (February 21, 2007)
                                                                                                           FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty –
123                                                        Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Michael Stack” (April 11, 2004)
                                                                                                           902; 902(11)

      Department of the Army, USARCENT FOIA FA-22-                                                         FRE 401; 402; 403; 611; 703;
124   0067, “After Action Report for AOB 560 Combat                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      Actions on 11-12APR04” (April 13, 2004)                                                              902; 902(5); 902(11)

      Office of the Armed Forces Medical Examiner, DHA                                                     FRE 401; 402; 403; 611; 703;
125   FOIA 22-00085, “Final Autopsy Report – Michael       Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Stack” (September 29, 2004)                                                                          902; 902(11)
      CENTCOM, USCENTCOM FOIA 22-0072, Ops
                                                                                                           FRE 401; 402; 403; 611; 703;
      Report, “Rocket Attk on FOB Kalsu IVO
126                                                                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      MUSAYYIB: 3 CF KIA; 12 CF WIA,” (May 25,
                                                                                                           902; 902(5); 902(11)
      2004)
      Office of the Armed Forces Medical Examiner, DHA                                                     FRE 401; 402; 403; 611; 703;
127   FOIA 22-00085, “Autopsy Report – Alan Bean,”         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (August 3, 2004)                                                                                     902; 902(11)
                                                                                                           FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty –
128                                                        Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Timothy Bell,” (June 30, 2010)
                                                                                                           902; 902(11)
      Department of the Army, “Memorandum for                                                              FRE 401; 402; 403; 611; 703;
129   Commander 172d Corps Support Group, LAS              Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Anaconda, APO AE 09391,” (August 2, 2004)                                                            902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                         FRE 401; 402; 403; 611; 703;
130   “Autopsy Examination Report – Stephen Hulett,”       Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (April 18, 2004)                                                                                     902; 902(11)
      Department of the Army, USCENTCOM FOIA 22-
                                                                                                           FRE 401; 402; 403; 611; 703;
      0145, Ops Report “Coordinated ATTK on 724TC
131                                                                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      Convoy in Zone 35: 1US KIA; 1 NEU Killed,” (April
                                                                                                           902; 902(5); 902(11)
      9, 2004)
      U.S. Department of Defense, “News Release - DOD
132   Announces Change-in-Status of an Army Soldier                                                        FRE 401; 402; 403; 807              Public Document
      Casualty,” (April 24, 2004)
      CENTCOM, USCENTCOM FOIA 22-0110, Ops                                                                 FRE 401; 402; 403; 611; 703;
133   Report, “Rocket Attk on Camp Cooke (Taji): 4 CF                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      KIA, 7 CF WIA,” (April 24, 2004)                                                                     902; 902(5); 902(11)
                                                                                                           FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty –
134                                                        Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Arthur Felder,” (April 30, 2004)
                                                                                                           902; 902(11)
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                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty – Billy
135                                                          Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Orton,” (May 3, 2004)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner, “Final
136                                                          Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Autopsy Report – Billy Orton,” (May 20, 2004)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner, “Final
137                                                          Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Autopsy Report – Arthur Felder,” (February 11, 2005)
                                                                                                             902; 902(11)
      MARCENT, USMARCENT FOIA DON-USMC-                                                                      FRE 401; 402; 403; 611; 703;
138   2022-002646, “MSGID/SITREP: MSF-B/04-288,”                                                             803(6); 803(8); 807; 901; 901(7);        FOIA
      (January 15, 2007)                                                                                     902; 902(5); 902(11)

      Department of State, State Dep. FOIA FL-2022-                                                          FRE 401; 402; 403; 611; 703;
139   00064, “Report of Death of an American Citizen                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      Abroad – John Pinsonneault,” (March 6, 2005)                                                           902; 902(5); 902(11)

      U.S. Marine Corps Deputy Medical Examiner, State                                                       FRE 401; 402; 403; 611; 703;
140   Dep. FOIA FL-2022-00064, “Certificate of Death –                                                       803(6); 803(8); 807; 901; 901(7);        FOIA
      John Pinsonneault,” (October 17, 2004)                                                                 902; 902(5); 902(11)

                                                                                                             FRE 401; 402; 403; 611; 703;
      Armed Forces Institute of Pathology, “Autopsy
141                                                          Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Report – John Pinsonneault,” (October 14, 2004)
                                                                                                             902; 902(11)

      U.S. Dep't of State, State Dep. FOIA FL-2022-00064,                                                    FRE 401; 402; 403; 611; 703;
142   “Attachment 2–W0RKING COPY–DS Memorial                                                                 803(6); 803(8); 807; 901; 901(7);        FOIA
      Project–1st Round Nominations–Approved 9/2013"                                                         902; 902(5); 902(11)

      CENTCOM, USCENTCOM FOIA 22-0360, Ops
                                                                                                             FRE 401; 402; 403; 611; 703;
      Report, “Explosion IVO Bazaar Baghdad (Zone 1): 4
143                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      NEU Killed, 1 CF WIA, 21 NEU INJ,” (October 14,
                                                                                                             902; 902(5); 902(11)
      2004)
      CENTCOM, USCENTCOM FOIA 22-0183,                                                                       FRE 401; 402; 403; 611; 703;
144   “Casualty Report – Adrian Orosco,” (December 2,                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      2022)                                                                                                  902; 902(5); 902(11)
      CENTCOM, USCENTCOM FOIA 22-0183, Ops
      Report, “IED EXPLOSION ATTK ON 1-11 ACR                                                                FRE 401; 402; 403; 611; 703;
145   IVO (ZONE 34) (ROUTE SWORD/MICHIGAN: 9                                                                 803(6); 803(8); 807; 901; 901(7);        FOIA
      CF WIA 1 CF KIA 2 CIV WIA 1 AIF KIA,”                                                                  902; 902(5); 902(11)
      (December 9, 2005)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
146                                                          Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – Adrian Orosco,” (January 3, 2003)
                                                                                                             902; 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                           FRE 401; 402; 403; 611; 703;
147   0067, “Informal AR 15-6 Investigation, Justin                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      Monschke,” (October 17, 2007)                                                                          902; 902(5); 902(11)
      CENTCOM, USCENTCOM FOIA 22-0178, Ops                                                                   FRE 401; 402; 403; 611; 703;
148   Report, “IED Explosion RPT (IED) A/2-12IN: 1CF                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      KIA 3CF WIA,” (October 14, 2007)                                                                       902; 902(5); 902(11)
      Office of the Armed Forces Medical Examiner,                                                           FRE 401; 402; 403; 611; 703;
149   “Autopsy Report – Justin Monschke,” (October 21,       Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2022)                                                                                                  902; 902(11)
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      USCENTCOM, USCENTCOM FOIA 22-0115 , Ops
                                                                                                            FRE 401; 402; 403; 611; 703;
      Report, “SAFIRE on C/1-131 (EASY 4,
150                                                                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      [REDACTED]: 12 CF KIA 1 AIF DET,” (January 20,
                                                                                                            902; 902(5); 902(11)
      2007)
      Office of the Armed Forced Medical Examiner,                                                          FRE 401; 402; 403; 611; 703;
151   “Autopsy Report – Marilyn Gabbard,” (February 27,     Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2007)                                                                                                 902; 902(11)

      Department of the Army, USARCENT FOIA FA-22-                                                          FRE 401; 402; 403; 611; 703;
152   0067, “AR 15-6 Collateral Investigation of UH-60                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      incident on 20JAN07,” (February 3, 2007)                                                              902; 902(5); 902(11)

                                                                                                            FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty –
153                                                         Yes       Full Seal    PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Jonathan Grassbaugh,” (May 3, 2007)
                                                                                                            902; 902(11)
      USCENTCOM, USCENTCOM FOIA 17-0695,                                                                    FRE 401; 402; 403; 611; 703;
154   "Initial and Supplemental Casualty Report - Levi                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      Hoover," (April 7-8, 2007)                                                                            902; 902(5); 902(11)
      CENTCOM, USCENTCOM FOIA 22-0169,                                                                      FRE 401; 402; 403; 611; 703;
155   “Casualty Report – Rodney McCandless,” (April 8,                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      2007)                                                                                                 902; 902(5); 902(11)
      Office of the Armed Forces Medical Examiner, “Final                                                   FRE 401; 402; 403; 611; 703;
156   Autopsy Report – Jonathan Grassbaugh,” (May 11,       Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2007)                                                                                                 902; 902(11)

      Department of the Army, USARCENT FOIA FA-22-
      0067, “15-6 Investigation into an IED Detonation
                                                                                                            FRE 401; 402; 403; 611; 703;
      Resulting in the Death of CPT Grassbaugh, Jonathan;
157                                                                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      SPC Emolo, Ebe; SPC Hoover, Levi; and PFC
                                                                                                            902; 902(5); 902(11)
      McCandless, Rodney from 5-73rd Cavalry Squadron,
      07APR07, 38S MC 7042 4576,” (April 17, 2007)

      USCENTCOM, USCENTCOM FOIA 22-0121, Ops
                                                                                                            FRE 401; 402; 403; 611; 703;
      Report, “IED Explosion (CWIED) ATTK on TF 5-73
158                                                                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      IVO (Route Barley): 1 CF WIA 4 CF KIA,” (April,
                                                                                                            902; 902(5); 902(11)
      24, 2007)
      USCENTCOM, USCENTCOM FOIA 17-0446,                                                                    FRE 401; 402; 403; 611; 703;
159   “Initial and Supplemental Casualty Report of Kile                                                     803(6); 803(8); 807; 901; 901(7);        FOIA
      West (May 28, 2007; June 10, 2007)                                                                    902; 902(5); 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      CENTCOM, USCENTCOM FOIA 22-0070, “Report
160                                                                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      of Casualty – Zachary Baker,” (July 2, 2007)
                                                                                                            902; 902(5); 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
161                                                         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – James Summers,” (June 12, 2007)
                                                                                                            902; 902(11)
                                                                                                            FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
162                                                         Yes       Full Seal     Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – Kile West,” (June 27, 2007)
                                                                                                            902; 902(11)
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      Department of the Army, USARCENT FOIA FA-22-
      0067, “Findings and Recommendations for AR 15-6
      Investigation into Hostile Fire Deaths of PFC                                                          FRE 401; 402; 403; 611; 703;
163   Alexandre Alexeev, SPC James Summers, CPL                                                              803(6); 803(8); 807; 901; 901(7);        FOIA
      Zachary Baker, SGT Anthony Ewing, 1LT Kile West,                                                       902; 902(5); 902(11)
      and CPL Jonathan Markham on 28 and 29 May
      2007,” (June 27, 2007)

      Department of the Army, USCENTCOM FOIA 22-                                                             FRE 401; 402; 403; 611; 703;
164   0226, “Casualty Report – James Summers,” (June 9,                                                      803(6); 803(8); 807; 901; 901(7);        FOIA
      2007)                                                                                                  902; 902(5); 902(11)
      USCENTCOM, USCENTCOM FOIA 17-0403,
                                                                                                             FRE 401; 402; 403; 611; 703;
      “(Explosive Hazard) IED Explosion (Improvised
165                                                                                                          803(6); 803(8); 807; 901; 901(7);         FOA
      Explosive Devise (IED)) 3-1 QRF : 5 KIA 3 OF
                                                                                                             902; 902(5); 902(11)
      WIA,” (February 2, 2008)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty -
166                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Damon LeGrand,” (July 24, 2007)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death
167                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (OVERSEAS) - Damon LeGrand,” (June 28, 2007)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner, “Final
168                                                         Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Autopsy Report – Damon LeGrand,” (June 28, 2007)
                                                                                                             902; 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                           FRE 401; 402; 403; 611; 703;
169   0067, “AR 15-6 Investigation Report – Damon                                                            803(6); 803(8); 807; 901; 901(7);        FOIA
      LeGrand,” (June 20, 2007)                                                                              902; 902(5); 902(11)
      Department of Defense, USCENTCOM FOIA 22-                                                              FRE 401; 402; 403; 611; 703;
170   0150, “Supplemental Casualty Report – Damon                                                            803(6); 803(8); 807; 901; 901(7);        FOIA
      LeGrand,” (n.d.)                                                                                       902; 902(5); 902(11)
      Department of Defense, USCENTCOM FOIA 22-                                                              FRE 401; 402; 403; 611; 703;
171   0150, “Initial Field Report – Damon LeGrand,” (June                                                    803(6); 803(8); 807; 901; 901(7);        FOIA
      13, 2007)                                                                                              902; 902(5); 902(11)
      Department of the Army, USARCENT FOIA FA-17-                                                           FRE 401; 402; 403; 611; 703;
172   0222, “AR 15-6 - Matthew Pionk & Zachary                                                               803(6); 803(8); 807; 901; 901(7);        FOIA
      McBride,” (January 11, 2008)                                                                           902; 902(5); 902(11)
      Office of the Armed Forces Medical Examiner,                                                           FRE 401; 402; 403; 611; 703;
173   “Autopsy Examination Report - MCBRIDE,                Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Zachary,” (March 6, 2008)                                                                              902; 902(11)
      Office of the Armed Services Medical Examiner,                                                         FRE 401; 402; 403; 611; 703;
174   “Autopsy Examination Report - PIONK, Matthew,”        Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (June 20, 2008)                                                                                        902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      USCENTCOM, USCENTCOM FOIA 22-0102, “Ops
175                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      Report - MCBRIDE, PIONK,” (January 12, 2008)
                                                                                                             902; 902(5); 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty -
176                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      MCBRIDE, Zachary W.,” (February 2, 2008)
                                                                                                             902; 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                           FRE 401; 402; 403; 611; 703;
177   0067, “AR 15-6 Investigation of FOB Marez DFAC                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      Bombing, Mosul, Iraq” (2005)                                                                           902; 902(5); 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                           FRE 401; 402; 403; 611; 703;
178   0067, “AR 15-6 Investigation Report – PFC Lionel                                                       803(6); 803(8); 807; 901; 901(7);        FOIA
      Aryon,” (2005)                                                                                         902; 902(5); 902(11)
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      CENTCOM, USCENTCOM 22-0069, “Ops Report –
                                                                                                              FRE 401; 402; 403; 611; 703;
      SUSPECTED SUICIDE BOMBER ATTK ON FOB
179                                                                                                           803(6); 803(8); 807; 901; 901(7);        FOIA
      MAREZ IN MOSUL: 14 CF KIA, 51 CF WIA, 4
                                                                                                              902; 902(5); 902(11)
      US,” (December 25, 2004)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
180                                                          Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – Lynn Poulin,” (January 12, 2005)
                                                                                                              902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                            FRE 401; 402; 403; 611; 703;
181   “Autopsy Report – Lionel Ayro,” (December 28,          Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2004)                                                                                                   902; 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty – Ricky
182                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Rockholt,” (April 28, 2005)
                                                                                                              902; 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                              FRE 401; 402; 403; 611; 703;
183   0201, “Initial Report of Casualty – Ricky Rockholt,”                                                    803(6); 803(8); 807; 901; 901(7);        FOIA
      (April 28, 2005)                                                                                        902; 902(5); 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty –
184                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      William Edens,” (April 28, 2005)
                                                                                                              902; 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death
185                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (OVERSEAS) – William Edens,” (April 28, 2005)
                                                                                                              902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                            FRE 401; 402; 403; 611; 703;
186   “Final Autopsy Report – William Edens,” (May 13,       Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2005)                                                                                                   902; 902(11)
      USCENTCOM, USCENTCOM FOIA 22-0106, Ops
                                                                                                              FRE 401; 402; 403; 611; 703;
      Report, “IED ATTK on 1-5IN and 2/3 ACR IVO
187                                                                                                           803(6); 803(8); 807; 901; 901(7);        FOIA
      TAL’AFAR: 4 CF KIA, 2CF WIA, 1 CF INJ
                                                                                                              902; 902(5); 902(11)
      [REDACTED],” (April 28, 2005)
      Department of the Army, USCENTCOM FOIA 17-                                                              FRE 401; 402; 403; 611; 703;
188   0444, “Initial Casualty Report – James Craig,”                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      (January 28, 2008)                                                                                      902; 902(5); 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                              FRE 401; 402; 403; 611; 703;
189   0166, “Initial Casualty Report – Evan Marshall,”                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      (n.d.)                                                                                                  902; 902(5); 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                              FRE 401; 402; 403; 611; 703;
190   0245, “Initial Casualty Report – Joshua Young,”                                                         803(6); 803(8); 807; 901; 901(7);        FOIA
      (n.d.)                                                                                                  902; 902(5); 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death –
191                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Joshua Young” (n.d.)
                                                                                                              902; 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death – Evan
192                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Marshall,” (February 8, 2008)
                                                                                                              902; 902(11)
                                                                                                              FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty, Evan
193                                                          Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Marshall,” (February 28, 2008)
                                                                                                              902; 902(11)
      Office of the Armed Forces Medical Examiner,                                                            FRE 401; 402; 403; 611; 703;
194   “Autopsy Report – Evan Marshall,” (February 21,        Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2008)                                                                                                   902; 902(11)
      Department of the Army, USARCENT FOIA FA-22-                                                            FRE 401; 402; 403; 611; 703;
195   067, “AR 15-6 – Marshall Evans,” (February 14,                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      2008)                                                                                                   902; 902(5); 902(11)
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                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, USARCENT FOIA FA-22-
196                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      067, “AR 15-6 – Craig James,” (February 14, 2008)
                                                                                                             902; 902(5); 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, USARCENT FOIA FA-22-
197                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      067, “AR 15-6 – Joshua Young,” (February 14, 2008)
                                                                                                             902; 902(5); 902(11)
      Department of the Army, “AR 15-6 Findings and
                                                                                                             FRE 401; 402; 403; 611; 703;
      Recommendations Concerning the Hostile Fire Deaths
198                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      on 28 January 2008; B Company, 1-8 Infantry,”
                                                                                                             902; 902(11)
      (February 14, 2008)

      18th Ordnance Company (Explosive Ordnance                                                              FRE 401; 402; 403; 611; 703;
199   Disposal), USCENTCOM FOIA 17-0403, “SIGACT                                                             803(6); 803(8); 807; 901; 901(7);        FOIA
      Report - 28 Jan 2008,” (January 28, 2008)                                                              902; 902(5); 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                             FRE 401; 402; 403; 611; 703;
200   0186, “Casualty Report – Jason Pautsch,” (April 10,                                                    803(6); 803(8); 807; 901; 901(7);        FOIA
      2009)                                                                                                  902; 902(5); 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Report of Casualty – Gary
201                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Woods,” (April 13, 2009)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
202                                                         Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – Jason Pautsch,” (April 25, 2009)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
203                                                         Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – Gary Woods,” (May 11, 2009)
                                                                                                             902; 902(11)

      Department of the Army, USARCENT FOIA-17--
      173, “Action AR 15-6 Investigation into the Hostile                                                    FRE 401; 402; 403; 611; 703;
204   Fire Incident Resulting in the Deaths of Five US                                                       803(6); 803(8); 807; 901; 901(7);        FOIA
      Soldiers, Involving 1st Combined Arms Battalion, 67                                                    902; 902(5); 902(11)
      Armor Regiment on 10 April 2009,” (May 9, 2009)

      USCENTCOM, USCENTCOM FOIA 22-0113, Ops
      Report, “(Explosive Hazard) IED Explosion RPT                                                          FRE 401; 402; 403; 611; 703;
205   (Vehicle-Borne IED (VBIED)) D/1-67AR : 5 CF KIA                                                        803(6); 803(8); 807; 901; 901(7);        FOIA
      2CF WIA 2 ISF WIA UE IA 3 UE DET,” (April 10,                                                          902; 902(5); 902(11)
      2009)
                                                                                                             FRE 401; 402; 403; 611; 703;
      CENTCOM, USCENTCOM FOIA 22-0123,
206                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      “Casualty Report – Bryan Hall,” (January 31, 2023)
                                                                                                             902; 902(5); 902(11)
      Department of the Army, USCENTCOM FOIA 22-                                                             FRE 401; 402; 403; 611; 703;
207   0127, “Casualty Report – James Harlan,” (May 14,                                                       803(6); 803(8); 807; 901; 901(7);        FOIA
      2004)                                                                                                  902; 902(5); 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Office of the Armded Forces Medical Examiner,
208                                                         Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report – James Harlan,” (June 7, 2004)
                                                                                                             902; 902(11)
                                                                                                             FRE 401; 402; 403; 611; 703;
      Department of the Army, “Certificate of Death –
209                                                         Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      James Harlan,” (May 17, 2004)
                                                                                                             902; 902(11)
      Department of the Army, USCENTCOM FOIA 22-
                                                                                                             FRE 401; 402; 403; 611; 703;
      0077, Ops Report, “IED ATTK ON 1-4CAV AD
210                                                                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      DULUIYAH: 1CF KIA, 6 CF WIA [redacted],” (July
                                                                                                             902; 902(5); 902(11)
      21, 2004)
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      Office of the Armed Forces Medical Examiner,                                                               FRE 401; 402; 403; 611; 703;
211   “Autopsy Report - Nicholas Blodgett,” (August 18,         Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      2004)                                                                                                      902; 902(11)
      Department of the Army, “Report of AR 15-6                                                                 FRE 401; 402; 403; 611; 703;
212   Investigation Pertaining to the Death of Staff Sergeant   Yes       Full Seal     PII/Victim's Document    803(6); 803(8); 807; 901; 901(7);   Victim's Document
      Justin Estes” (March 28, 2007)                                                                             902; 902(11)

      Department of the Army, USCENTCOM 22-0109,
                                                                                                                 FRE 401; 402; 403; 611; 703;
      Ops Report, “IED Explosion (VOIED) Attk on C/2-
213                                                                                                              803(6); 803(8); 807; 901; 901(7);        FOIA
      505 IVO Samarra (Route Unknown): 6 CF KIA 4 CF
                                                                                                                 902; 902(5); 902(11)
      WIA 1 CIV KIA” (March 5, 2007)

                                                                                                                 FRE 401; 402; 403; 611; 703;
      Office of the Armed Forces Medical Examiner,
214                                                             Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      “Autopsy Report - Justin Estes” (March 22, 2007)
                                                                                                                 902; 902(11)
      USCENTCOM, USCENTCOM FOIA 17-0674,                                                                         FRE 401; 402; 403; 611; 703;
215   “Initial and Supplemental Casualty Report – Robin                                                          803(6); 803(8); 807; 901; 901(7);        FOIA
      Towns (October 24-25, 2007)                                                                                902; 902(5); 902(11)

      Department of the Army, USCENTCOM FOIA FA-                                                                 FRE 401; 402; 403; 611; 703;
216   22-0067, “Findings and Recommendations – Army                                                              803(6); 803(8); 807; 901; 901(7);        FOIA
      Regulation 15-6 Investigation,” (October 28, 2007)                                                         902; 902(5); 902(11)

      Office of the Armed Forces Medical Examiner,                                                               FRE 401; 402; 403; 611; 703;
217   “Autopsy Examination Report – Robin Towns,”               Yes       Full Seal      Victim's Document       803(6); 803(8); 807; 901; 901(7);   Victim's Document
      (November 2, 2007)                                                                                         902; 902(11)

      Brian Fishman, The Master Plan: ISIS, al-Qaeda, and                                                        FRE 401; 402; 403; 702; 703; 704;
218                                                                                                                                                  Public Document
      the Jihadi Strategy for Final Victory (2016)                                                               803(18); 807

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219                                                                                                                                                  Public Document
      The New Face of Al-Qaeda (2005)                                                                            803(18); 807

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220                                                                                                                                                  Public Document
      Rehabilitation: The U.S. Experience in Iraq (2011)                                                         803(18); 807

      Photograph of Vehicle D304 Following Explosion                                                             FRE 401; 402; 403; 601-603; 611;
221                                                             Yes       Full Seal      Victim's Document                                           Victim's Document
      provided by Plaintiff Becky Lynn Johnson                                                                   703; 807
